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                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

MONICA ABBOUD, individually            §
and on behalf of other persons         §
similarly situated,                    §
                                       §
         Plaintiff,                    §
                                       §
v.                                     §            Civil No. 3-19-CV-0120-K
                                       §
AGENTRA, LLC, a Texas limited liabilty §
company,                               §
                                       §
         Defendant.                    §

                CLASS CERTIFICATION SCHEDULING ORDER

      Before the Court is the Parties’ Amended Report Regarding Contents of

Scheduling Order, filed on April 11, 2019. Pursuant to Rule 16(b) of the Federal Rules

of Civil Procedure, the Local Rules of this Court, and the Civil Justice Expense and

Delay Reduction Plan for the Northern District of Texas, the Court ORDERS as

follows:

      1.     Plaintiffs must file their Motion for Class Certification by January 30,

2020. The motion must otherwise comply with Local Rule 23.2 (except paragraph (f)),

and must be accompanied by a supporting brief and all supporting evidence, including

expert testimony, if any.




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       2.     Any motions requesting leave to join additional parties must be filed by

August 12, 2019. Any motion for leave to amend pleadings under Federal Rule 15(a)

must be filed by August 12, 2019. Any motion for leave to amend pleadings after that

date must show good cause pursuant to Federal Rule 16(b).

       3.     Unless otherwise stipulated or directed by order, plaintiff and defendant

shall file a written designation of the name and address of each expert witness, if any and

shall otherwise comply with Fed. R. Civ. P. 26(a)(2) on or before November 13, 2019.

              If the evidence is intended solely to contradict or rebut evidence on the

same subject matter identified by another party under Rule 26(a)(2)(B), the disclosure

required under Rule 26(a)(2) shall be made within 30 days after the disclosure made by

the other party.

       4.     Discovery may begin immediately, but this discovery closes January 13,

2020. All written discovery must be sent in a timely manner such that any response is

due before class certification discovery closes.

              After ruling on the issue of Class Certification, the Court will issue a

separate order requiring the parties to file a Report Regarding Contents of Scheduling

Order to address the deadlines for the remainder of this case.




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       5.    The parties shall mediate this case no later than December 2, 2019, and

the parties shall file a Joint Report on mediation no later than 7 days after mediation occurs.

       There appears to be no further reason at this time to maintain the file as open for

statistical purposes. The Clerk is therefore instructed to submit a JS-6 form to the

Administrative Office, thereby removing this case from the statistical records. Nothing

in this Order shall be considered a dismissal or disposition of this case.

       After ruling on the issue of conditional certification, the Court will reopen this

case and issue a separate order requiring the parties to file a Report Regarding Contents

of Scheduling Order to address the deadlines for the remainder of this case.

       SO ORDERED.

       Signed April 12th, 2019.




                                               ____________________________________
                                               ED KINKEADE
                                               UNITED STATES DISTRICT JUDGE




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